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                        AFFIDAVIT IN SUPPORT OF COMPLAINT

       I, Asher Spaulding, being duly sworn, state the following information to be true to the

best of my knowledge, information, and belief:

       1.      I am a Special Agent with the Bureau of Indian Affairs (BIA) Officer of Justice

Services (OJS) and have been so employed for 8 years. My primary duties and responsibilities

involve the investigation of violations of federal law in Indian Country, to include violations

found in Title 18 of the United States Code. I am currently assigned to the Ute Mountain Ute

Agency of the BIA OJS. During my tenure as a BIA Special Agent, I have investigated

numerous crimes including, but not limited to assaults with dangerous weapons, assaults

resulting in serious bodily injury, homicides, sexual assaults, and domestic assaults.

       2.      I am an “Investigative or Law Enforcement Officer” within the meaning of

Section 2510 (7) of Title 18, United States Code; that is, an officer of the United States who is

empowered by law to conduct investigations of, and to make arrests for, offenses enumerated in

Section 2516 of Title 18, United States Code.

       3.      I am currently participating in the investigation of an assault resulting in serious

bodily injury that occurred on December 2, 2024, on the Ute Mountain Ute Reservation. As a

result of my personal participation in the investigation described herein and my review of the

reports, both written and oral, made to me by other, BIA Law Enforcement, witnesses, and other

concerned parties, I am familiar with the circumstances of the facts and information contained in

this affidavit. I have not included each and every fact known to me concerning this investigation

and I have only included those facts that establish probable cause for this Complaint.

       4.      Based on the facts stated below, there is probable cause to believe that Lanson

Manning, an enrolled Ute Mountain Ute tribal member and a person considered an “Indian”
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under federal law, committed a violation of 18 U.S.C. §§ 113(a)(6) and 1153 (Assault Resulting

in Serious Bodily Injury) by striking a victim in the face with a glass object in a location within

the exterior boundaries of the Ute Mountain Ute Indian Reservation in Towaoc, Colorado, Indian

Country, and the victim sustained serious bodily injury.



                                       INVESTIGATION

   5. Based on my investigation and consultation of records available to law enforcement, your

Affiant is aware that Lanson Manning is enrolled with the Ute Mountain Ute Tribe, a federally

recognized tribe, and is considered “Indian” under federal law. Further, your Affiant is aware

M.M. is enrolled with the Ute Mountain Ute tribe and is considered “Indian” under federal law.

Based on records available to law enforcement, your Affiant is aware that 158 North Bear Dance

in Towaoc, Colorado is located within the boundaries of the Ute Mountain Ute Indian

Reservation or “Indian Country.”

   6. On December 2, 2024, at approximately 9:46 p.m., a call was transferred to Bureau of

Indian Affairs law enforcement dispatch from Cortez Police Department in Cortez, Colorado.

The BIA Dispatch Log for December 2, 2024, states there was an open 911 line that was pinged

to 158 North Bear Dance in Towaoc, CO. When the call was transferred, a female asked BIA

Dispatch “Can you help me? I got jumped and my eye is all fucked up right now.” The female

identified herself as M.M. M.M. told dispatch her address is 158 North Bear Dance.

   7. BIA-OJS Acting Lieutenant Denise Kee responded to 158 North Bear Dance Road. Lt.

Kee heard the west door of the residence open and recognized M.M. from prior law enforcement

contact. M.M. came out of the residence. M.M. told Lt. Kee she could not see. Lt. Kee

observed a laceration approximately 4 inches in length on M.M.’s forehead above her right eye.
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Lt. Kee observed blood on M.M.’s face, arms, and hands. Lt. Kee transported M.M. to the Ute

Mountain Ute Fire Station for medical treatment.

   8. On December 2, 2024, at approximately 9:54 p.m., M.M. was seen as a patient by UMU

EMS. According to the EMS Run Report, M.M. told EMTs she was hit in the head with a glass

bottle. M.M. would not disclose what happened in front of Lt. Kee. Lt. Kee stepped outside,

then M.M. told EMTs her brother hit her in the head with a glass bottle. M.M. said the incident

happened at 158 North Bear Dance Road. The EMS Run Report says “There is a long and deep

laceration to the patient’s right forehead measuring approximately 3 inches long and half an inch

deep. There appears to be skull bone exposed when I examine the wound.” M.M. reported a

pain level of 10 out of 10 to EMS. M.M. was transported to Southwest Memorial Hospital in

Cortez, Colorado by UMU EMS. M.M.’s report to EMS is consistent with the M.M.’s 911 call

where she cuts back and forth, asking for help and then speaking with a male in the background

stating, “no you’re not brother, I’m not, shut up, I’m not gonna tell on you.” The male could be

heard in the background cursing and saying “please”.

   9. I obtained and reviewed medical records from Southwest Memorial Hospital for patient

M.M.’s visit on December 2, 2024, through December 3, 2024. On page 5 of 55, the medical

provider comments say “There are pieces of the bottle you were struck with that are embedded in

the skin. You have 30 stitches in your face that are absorbable but should have your wound

rechecked in about 10 days." On page 40 of 55 the history of present illness section says "33-

year-old female presents with right forehead/eyebrow stellate deep laceration after allegedly

being assaulted by her brother with a glass/ceramic bottle.” On page 40 of 55, it also states

M.M’s pain level as a 7 out of 10.
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   10. On December 4, 2024, at approximately 3:17 p.m., BIA-OJS Special Agent Talon Dayish

interviewed M.M. at 158 North Bear Dance Road. M.M. provided Agent Dayish her tribal

census number. M.M. identified her brother as Lanson Manning (Manning). M.M. and Manning

were arguing the night of the assault. M.M. said she has a bruise on her back from being pushed

down into a door by Manning. M.M. pulled a knife out because she felt threatened, but didn’t

use it. M.M. and Manning continued drinking. M.M. said the next thing she remembered was

getting “blasted” in the face. M.M. was sitting on the couch in the living room when she was

struck. M.M. felt a warm mist of blood on her face after she was hit. Manning got down and

said, “sister I’m sorry.” M.M. felt blood gushing from the wound on her face. Manning told

M.M. he hit her with a bowl of soup. M.M. went to her bedroom and saw the wound on her face

and knew she had to call the police because of how bad the wound was. M.M. provided Agent

Dayish with a photograph she took of the wound. Agent Dayish also took photographs of

M.M.’s stitched wound. Your Affiant reviewed the photographs and observed M.M.’s scar and

stitches run diagonally from the top of M.M.’s right forehead, close to the center, and downward

to the right corner of M.M.’s eyebrow. Agent Dayish also photographed blood on the floor and

soup on the wall of the living room.


                                               Conclusion

       11. Your Affiant submits that based on the facts outlined in this affidavit, there is probable

cause to believe that Lanson Manning committed the offense of Assault Resulting in Serious

Bodily Injury in Indian Country, in violation of Title 18 U.S.C., Sections 113(a)(6) and 1153.


The above-described acts occurred within the jurisdiction of the District of Colorado.

____/s/ Asher Spaulding______________
Special Agent Asher Spaulding
Bureau of Indian Affairs
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Submitted, attested to, and acknowledged before me by reliable electronic means on January

____,
23rd 2025.

____________________________________
Honorable James M. Candelaria
U.S. District Court Magistrate Judge
